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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
MUKHTAR NAHSHAL and MOHAMED NASHAL,                                           Civil Action No.:

                                   Plaintiffs,

                   -against-                                                NOTICE OF REMOVAL

BOYISE EDDIE DENMARK and MILLER AUTO
LEASING CO.,

                                    Defendants.
----------------------------------------------------------------------- x

TO:      THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK

         Defendants-Petitioners, BOYISE EDDIE DENMARK and MILLER AUTO LEASING

CO., file this notice to remove the foregoing case to the United States District Court for the

Southern District of New York, and respectfully shows this Court:

         1.        A civil action was commenced in the Supreme Court of Bronx County, State of

New York, in which the above-named individuals, MUKHTAR NAHSHAL and MOHAMED

NAHSHAL, are the plaintiffs and the petitioners are defendants BOYISE EDDIE DENMARK

and MILLER AUTO LEASING CO. The action is entitled MUKHTAR NAHSHAL and

MOHAMED NAHSHAL v. BOYISE EDDIE DENMARK and MILLER AUTO LEASING

CO., and bears Index Number 29243/2020E.

         2.        This action involves a controversy between a citizen of the State of New York, a

citizen of the state of Florida and a company organized under the laws of the State of New Jersey

and its principal business in the State of New Jersey in that: (a) the plaintiffs MUKHTAR

NAHSHAL and MOHAMED NAHSHAL are now, and were at the time said action was

commenced, residents of the State of New York, (b) petitioner Boyise Eddie Denmark is now,

and was at the time said action was commenced, a resident of the State of Florida and (c)


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defendant Miller Auto Leasing Co. is now, and was at the time of the accident and remains a

company organized under the laws of the State of Jersey, with its principal place of business in

the State of New Jersey.

          3.       The above action was commenced against defendants-petitioners on or after

August 22, 2020 by service of the Summons and Complaint.               A copy of the Complaint is

annexed hereto as Exhibit “A”.

          4.       This is a civil action seeking damages arising out of a motor vehicle accident

allegedly caused by the defendants’ negligence. The addendum demands an amount which

exceeds the jurisdictional limits of all lower Courts. Accordingly, the amount in controversy in

this suit is in excess, exclusive of interest and costs, of $75,000.


          5.       Said action is one of which the District Courts of the United States have original

jurisdiction under 28 U.S.C. § 1332 and 28 U.S.C. § 1441. There is complete diversity of

citizenship between the plaintiffs and the defendants.

          6.       Defendants BOYISE EDDIE DENMARK and MILLER AUTO LEASING CO.,

are the petitioners for the removal of this case to this Court.

          7.       This motion is filed within thirty (30) days after service of the Summons and

Complaint by the plaintiff on the defendants-petitioners BOYISE DENMARK and MILLER

AUTO LEASING CO.

          8.       Written filing of this motion will be given to the plaintiffs promptly after the

filing of this motion, as is required by law.

          9.       A true and correct copy of this motion will be filed with the Clerk of the Supreme

Court of Bronx County, State of New York promptly after the filing of this motion, as is required

by law.



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       10.     Attached to this motion, and by reference made a part hereof, are true and correct

copies of all process, pleadings and orders filed in the aforesaid action.

       11.     By filing this Notice of Removal, defendants-petitioners do not waive any defense

which may be available to them, specifically including, but not limited to, the right to contest in

personam jurisdiction over the defendants-petitioners, improper service of process upon the

petitioners, and the absence of venue in this Court or in the court from which the action has been

removed.

       WHEREFORE, defendants-petitioners pray that this action proceed in this Court as an

action properly removed thereto.


Dated: New York, New York
       November 23, 2020


                                              Yours etc.,

                                              LEWIS BRISBOIS BISGAARD & SMITH LLP
                                              By:  Sheryl S. Fyffe
                                              SHERYL S. FYFFE (SG-7134)
                                              Attorneys for Defendants
                                              BOYISE EDDIE DENMARK and
                                              MILLER AUTO LEASING CO.
                                              77 Water Street, Suite 2100
                                              New York, New York 10005
                                              (212) 232-1300

To:    Shaun Gregory White
       SLATER SGARLATO & CAPPELLO, P.C.
       Attorneys for Plaintiffs
       MUKHTAR NAHSHAL and
       MOHAMED NAHSHAL
       1298 Victory Blvd.
       Staten Island, New York 10301
       (718) 448-6400
       File Nos. 5402(a) and 5402(b)




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                                     CERTIFICATE OF SERVICE


     I hereby certify that on the 25th day of November, 2020, the foregoing document,
NOTICE OF REMOVAL, was served via first class mail upon:



         Shaun Gregory White
         SLATER SGARLATO & CAPPELLO, P.C.
         Attorneys for Plaintiffs
         MUKHTAR NAHSHAL and
         MOHAMED NAHSHAL
         1298 Victory Blvd.
         Staten Island, New York 10301
         (718) 448-6400
         File Nos. 5402(a) and 5402(b)



       I certify that the foregoing statements made by me are true. I am aware that if any of the
statements made by me are willfully false, I am subject to punishment.

Dated: New York, New York
       November 25, 2020



                                                 By:          Sheryl S. Fyffe
                                                       Sheryl S. Fyffe (SG-7134)




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                         LEWIS BRISBOIS BISGAARD & SMITH LLP

Index No. 29243/2020                                                     File No.: 29881.278
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MUKHTAR NAHSHAL and MOHAMED NASHAL,

                              Plaintiffs,

             -against-

BOYISE EDDIE DENMARK and MILLER AUTO
LEASING CO.,

                              Defendants.


                                  NOTICE OF REMOVAL

LEWIS BRISBOIS BISGAARD & SMITH LLP
Counsel for Defendants

                                       Office Address & Tel. No.: 77 Water Street, 21ST Floor
                                                                  New York, New York 10005
                                                                  (212) 232-1300

Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts
of New York State, certifies that, upon information and belief and reasonable inquiry, the
contentions contained in the annexed document are not frivolous.

                                                Signature:
                                                Print Signer’s Name:

Service of a copy of the within                                                 is hereby
admitted.
Dated:

                                   Attorney(s) for Defendants




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